       Case 17-60262-lrc      Doc 10    Filed 06/16/17 Entered 06/16/17 11:43:30             Desc Main
                                        Document      Page 1 of 1
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                                             June 16, 2017
 M. Regina Thomas
 Clerk of Court
 United States Bankruptcy Court for the Northern District of Georgia
 1340 Russell Federal Building
 75 Spring Street, S.W.
 Atlanta, GA 30303

                                REQUEST FOR SERVICE OF NOTICES

 RE:     Debtor           :      Ellis Walton Garner
         Case Number      :      17-60262-lrc
         Chapter          :      13
         Creditor         :      The Lakes at Cedar Grove Neighborhood Association, Inc.

 Dear Sir/Madam:

         Please add the following interested party to the mailing and service list in the above-referenced
 case:

                   The Lakes at Cedar Grove Neighborhood Association, Inc.
                   c/o Laura C. Horlock and Lisa B. Fuerst
                   Pankey & Horlock, LLC
                   1441 Dunwoody Village Parkway, Suite 200
                   Atlanta, GA 30338

        Please provide me with a copy of each notice of any proceeding, hearing or report in this matter
 including but not limited to notices required by Bankruptcy Rules 2002(g) and the Local Rules of the
 Bankruptcy Court.

                                        Very truly yours,
                                        ________/s/________________
                                        Lisa B. Fuerst
                                        Georgia Bar No. 030930
                                        Laura C. Horlock
                                        Georgia Bar No. 366982
                                        E. Berk Sauls
                                        Georgia Bar No. 627059
                                        Attorney for The Lakes at Cedar Grove Neighborhood
                                        Association, Inc.

 cc:    Howard P. Slomka, Debtors Attorney
        Adam M. Goodman Trustee
        Ellis Wilton Garner, Debtor
 8250.0071
